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                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK


  E. JEAN CARROLL,                                  Civil Action No.: 1:20-cv-7311-LAK-JLC

                        Plaintiff,

         v.
                                                             NOTICE OF DEFENDANT’S
  DONALD J. TRUMP, in his personal capacity,                   MOTION IN LIMINE

                        Defendant.



       PLEASE TAKE NOTICE that, the defendant, Donald J. Trump (“Defendant”), hereby

moves this Court at the Daniel Patrick Moynihan United States Courthouse, Courtroom 15C, 500

Pearl Street, New York, New York, on such date and at such time as the Court may direct, for an

Order in limine to (1) preclude Plaintiff from presenting any evidence relating to Defendant’s

purported interactions with non-party witnesses Natasha Stoynoff and Jessica Leeds; (2) preclude

Plaintiff from presenting evidence relating to speeches and statements made by Defendant while

he was campaigning for President; (3) preclude Plaintiff from introducing any evidence relating

to the “Access Hollywood” tape, including the tape itself; and (4) preclude Plaintiff from

introducing any evidence relating to emotional damages Plaintiff purports to have sustained as a

result of the alleged incident. This motion is supported by the annexed memorandum of law,

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declaration of Alina Habba, Esq. dated February 16, 2023, and any arguments or evidence

presented hereafter, and all arguments or evidence presented at a hearing or with leave of Court.


Dated: February 16, 2023                     Respectfully submitted,


                                             _____________________________
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